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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:00CR150
                              )
          v.                  )
                              )
CHRISTOPHER BLACK,            )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion of

Jessica P. Douglas and the Office of the Federal Public Defender

to withdraw as counsel (Filing No. 320).              The Court finds said

motion should be granted.      Accordingly,

           IT IS ORDERED that the motion is granted.              Jessica P.

Douglas and the Office of the Federal Public Defender are deemed

withdrawn as counsel of record for defendant.

           DATED this 26th day of August, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
